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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 SEAN PARNELL, individually and as a            )   CIVIL ACTION
 candidate for Pennsylvania’s 17th              )
 Congressional District and on behalf of all    )   Case No.: 2:20-cv-1570
 citizen electors of Allegheny County,          )
 Pennsylvania; LUKE NEGRON, individually        )   The Hon. J. Nicholas Ranjan
 and as a candidate for Pennsylvania’s 18th     )   United States District Judge
 Congressional District and on behalf of all    )
 citizen electors of Allegheny County,
                                                )
 Pennsylvania; BRIAN CHEW; and JAY
                                                )
 HAGERMAN,
                                                )
                Plaintiffs,                     )
                                                )
        v.                                      )
                                                )
 ALLEGHENY COUNTY BOARD OF                      )
 ELECTIONS; RICH FITZGERALD, in his             )
 official capacity as County Executive of       )
 Allegheny County and as a member of the        )
 Allegheny County Board of Elections;           )
 SAMUEL DeMARCO III, in his official            )
 capacity as a member of the Allegheny          )
 County Board of Elections; and BETHANY         )
 HALLAM, in her official capacity as a
                                                )
 member of the Allegheny County Board of
                                                )
 Elections,
                                                )
                Defendants.                     )

             AMENDED MOTION FOR TEMPORARY RESTRAINING ORDER

       1.      Plaintiffs, Sean Parnell, Luke Negron, Brian Chew, and Jay Hagerman, by and

through their undersigned counsel, move this Court to issue a Temporary Restraining Order,

pursuant to Federal Rule of Civil Procedure 65(b) to enjoin Defendants, Allegheny County Board

of Elections, Rich Fitzgerald, Samuel DeMarco, III, , and Bethany Hallam, from refusing to issue

Watchers and Poll Watchers Certificates and denying Poll Watchers access to Allegheny County’s

Satellite Voting Offices.



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       2.      Further, Plaintiffs move this Honorable Court for a Temporary Restraining Order,

pursuant to Federal Rule of Civil Procedure 65(b), et seq., to enjoin the Defendants and their agents

from continued violations of the Pennsylvania Election Code related to the 28,879 (or more)

erroneous ballots cast by mail which are being improperly handled by Defendants and to Order

that all of the said 28,879 ballots and their “replacements” be properly marked as “challenged”

without requiring the posting of funds by the Plaintiffs, and further providing for the proper

handling of all mail-in ballots cast in Allegheny County and in particular the said 28,879 ballots

identified as “erroneous.”

       3.      The motion for temporary restraining order is supported by Plaintiffs’ Amended

Complaint for Declaratory and Injunctive Relief [ECF 28] filed contemporaneously with this

Motion and the Affidavits of Chew and Hagerman attached thereto. [ECF 28-2].

       4.      Plaintiffs request an expedited hearing.

                                    NOTICE OF HEARING

       Plaintiffs will bring present their Amended Motion for a Temporary Restraining Order

before the Hon. J. Nicholas Ranjan at a time and place to be determined by the Court.

                                                      Respectfully Submitted,

                                                      DILLON, MCCANDLESS, KING,
                                                      COULTER & GRAHAM, LLP

                                                      Special Counsel for the Amistad Project of
                                                      the Thomas More Society

Dated: October 22, 2020                               By: /s/ Thomas W. King, III
                                                              Thomas W. King, III
                                                              Thomas E. Breth
                                                              Jordan P. Shuber

                                                      Counsel for Plaintiffs




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